         Case 1:23-cv-00341-JKM Document 27 Filed 08/12/24 Page 1 of 1




                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE MIDDLE DISTRICT OF PENNSYLVANIA


RRF BUILDING, LLC and                                         No. 1 :23cv341
SOPHIE MARIE LANGFORD,
                   Plaintiffs                                (Judge Munley)

                       v.


EXCEL DEVELOPMENT GROUP;
NETANEL INVEST USA, INC.; and
MICHAEL HELETZ,
                 Defendants
............................................................................................................
............................................................................................................
                                                ORDER

       AND NOW, to wit, this ( .l ~ of August 2024, the defendants' motion to

dismiss (Doc. 10) is GRANTED with respect to Count Ill of the Amended

Complaint and Count Ill is hereby DISMISSED. The motion to dismiss is DENIED

in all other respects.
